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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

DUANE L. BERRY, #62250019,                §
                                          §
      Petitioner,                         §
                                          §
v.                                        §   Civil Action No. 3:20-CV-0563-X-BH
                                          §
ERIC D. WILSON, Warden,                   §
                                          §
      Respondent.                         §
                                          §
                                          §
                                          §

        ORDER ACCEPTING FINDINGS AND RECOMMENDATION
           OF THE UNITED STATES MAGISTRATE JUDGE

      After reviewing all relevant matters of record in this case, including the

Findings, Conclusions, and Recommendation of the United States Magistrate Judge

and any objections thereto, in accordance with 28 U.S.C. ' 636(b)(1), the Court is of

the opinion that the Findings and Conclusions of the Magistrate Judge are correct

and they are accepted as the Findings and Conclusions of the Court. The case will

be dismissed by separate judgment for failure to follow court orders.

      If the petitioner files a notice of appeal, he must pay the $505.00 appellate

filing fee or submit a motion to proceed in forma pauperis and a properly signed

certificate of inmate trust account.
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    IT IS SO ORDERED this 29th day of September, 2020.




                                 BRANTLEY STARR
                                 UNITED STATES DISTRICT JUDGE
